                                 Case 8:19-bk-03039-RCT                      Doc 26         Filed 05/23/19         Page 1 of 12

Fill in this information to identify your case and this filing:


Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the: __________ District of ___________

Case number         ___________________________________________
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

                                 106A/B
Schedule A/B: Property                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                             the amount of any secured claims on Schedule D:
      1.1. _________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                     Current value of the     Current value of the
                                                                     Manufactured or mobile home                    entire property?         portion you own?
             _________________________________________
                                                                     Land                                           $________________        $_______________
                                                                     Investment property
             _________________________________________                                                              Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                    the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                    Debtor 1 only
             _________________________________________
             County                                                 Debtor 2 only
                                                                    Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                                                       (see instructions)
                                                                    At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                              the amount of any secured claims on Schedule D:
      1.2. ________________________________________                                                                 Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building
           Street address, if available, or other description
                                                                   Condominium or cooperative                       Current value of the     Current value of the
                                                                    Manufactured or mobile home                     entire property?         portion you own?
             ________________________________________
                                                                    Land                                            $________________        $_________________
                                                                    Investment property
             ________________________________________                                                               Describe the nature of your ownership
                                                                    Timeshare
             City                    State   ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                    Other __________________________________        the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                   Debtor 1 only
             ________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                          Check if this is community property
                                                                   At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                               page 1
                             Case 8:19-bk-03039-RCT                           Doc 26          Filed 05/23/19             Page 2 of 12
Debtor 1        _______________________________________________________                                 Case number   (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                   the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                     Condominium or cooperative                            Current value of the     Current value of the
                                                                                                                           entire property?         portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                 $________________        $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare
                                                                                                                           Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                      Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                          __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                 Debtor 1 only
            County
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                                Check if this is community property
                                                                                                                               (see instructions)
                                                                     At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


            Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.
                                                                                                                           the amount of any secured claims on Schedule D:
            Model:                     ______________
                                                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
            Year:                      ____________                                                                        Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
            Approximate mileage: ____________                                                                              entire property?          portion you own?
                                                                     At least one of the debtors and another
            Other information:
                                                                     Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                      ______________
                                                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                       ____________                                                                        Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                                                                                                           entire property?          portion you own?
           Approximate mileage: ____________                         At least one of the debtors and another
           Other information:
                                                                                                                           $________________         $________________
                                                                     Check if this is community property (see
                                                                     instructions)




                                                                  Schedule A/B: Property                                                                    page 2
                                  Case 8:19-bk-03039-RCT                                      Doc 26              Filed 05/23/19                     Page 3 of 12
Debtor 1          _______________________________________________________                                                       Case number      (if known)_____________________________________
                  First Name          Middle Name               Last Name




           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)


           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        No
        Yes


           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:       ____________________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the        Current value of the
           Other information:                                                     At least one of the debtors and another                               entire property?            portion you own?


                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:       ____________________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________                                                                                                                    Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?            portion you own?
           Other information:                                                     At least one of the debtors and another

                                                                                                                                                        $________________           $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                   $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




                                                                               Schedule A/B: Property                                                                                     page 3
                                      Case 8:19-bk-03039-RCT                                           Doc 26                Filed 05/23/19                         Page 4 of 12
Debtor 1            _______________________________________________________                                                                  Case number        (if known)_____________________________________
                    First Name           Middle Name                   Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe. ........                                                                                                                                                               $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
        Yes. Describe. .........                                                                                                                                                              $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
      Yes. Describe. .........                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
        No
        Yes. Describe. .........                                                                                                                                                              $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe. ..........                                                                                                                                                             $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe. ..........                                                                                                                                                             $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No
        Yes. Describe. ..........                                                                                                                                                             $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

        No
        Yes. Describe. ..........                                                                                                                                                             $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

        No
        Yes. Give specific
                                                                                                                                                                                              $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                $______________________
   for Part 3. Write that number here ....................................................................................................................................................



                                                                                      Schedule A/B: Property                                                                                              page 4
                                       Case 8:19-bk-03039-RCT                                                     Doc 26                   Filed 05/23/19                      Page 5 of 12
Debtor 1           _______________________________________________________                                                                                   Case number     (if known)_____________________________________
                   First Name              Middle Name                       Last Name




Part 4:      Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                                                                   Current value of the
                                                                                                                                                                                                              portion you own?
                                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                                              or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
      Yes ................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes .....................                                                                 Institution name:


                                            17.1. Checking account:                             _________________________________________________________                                                      $__________________

                                            17.2. Checking account:                             _________________________________________________________                                                      $__________________

                                            17.3. Savings account:                              _________________________________________________________                                                      $__________________

                                            17.4. Savings account:                              _________________________________________________________                                                      $__________________

                                            17.5. Certificates of deposit:                      _________________________________________________________                                                      $__________________

                                            17.6. Other financial account:                      _________________________________________________________                                                      $__________________

                                            17.7. Other financial account:                      _________________________________________________________                                                      $__________________

                                            17.8. Other financial account:                      _________________________________________________________                                                      $__________________

                                            17.9. Other financial account:                      _________________________________________________________                                                      $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes .................                 Institution or issuer name:

                                            _________________________________________________________________________________________                                                                          $__________________
                                            _________________________________________________________________________________________                                                                          $__________________
                                            _________________________________________________________________________________________                                                                          $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

      No                                    Name of entity:                                                                                                                   % of ownership:
      Yes. Give specific                    _____________________________________________________________________                                                             ___________%                     $__________________
      information about
      them.........................         _____________________________________________________________________                                                             ___________%                     $__________________
                                            _____________________________________________________________________                                                             ___________%                     $__________________




                                                                                               Schedule A/B: Property                                                                                                      page 5
                                        Case 8:19-bk-03039-RCT                          Doc 26       Filed 05/23/19        Page 6 of 12
Debtor 1           _______________________________________________________                                 Case number   (if known)_____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       No
       Yes. Give specific                Issuer name:
       information about
       them.......................       ______________________________________________________________________________________                  $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                 $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                 $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       No
       Yes. List each
       account separately.               Type of account:          Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________           $__________________

                                         Pension plan:             ___________________________________________________________________           $__________________

                                         IRA:                      ___________________________________________________________________           $__________________

                                         Retirement account:       ___________________________________________________________________           $__________________

                                         Keogh:                    ___________________________________________________________________           $__________________

                                         Additional account:       ___________________________________________________________________           $__________________

                                         Additional account:       ___________________________________________________________________           $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

       No
       Yes ..........................                          Institution name or individual:

                                         Electric:             ______________________________________________________________________            $___________________
                                         Gas:                  ______________________________________________________________________            $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                                 $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                                 $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                                 $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                                 $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                                 $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                                 $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                                 $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       No
       Yes ..........................    Issuer name and description:
                                          _______________________________________________________________________________________                $__________________
                                         _______________________________________________________________________________________                 $__________________
                                         _______________________________________________________________________________________                 $__________________


                                                                            Schedule A/B: Property                                                           page 6
                                     Case 8:19-bk-03039-RCT                         Doc 26          Filed 05/23/19            Page 7 of 12
Debtor 1          _______________________________________________________                                     Case number   (if known)_____________________________________
                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

       No
       Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. .......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information. .............
                                                                                                                             Alimony:                  $________________
                                                                                                                             Maintenance:              $________________
                                                                                                                             Support:                  $________________
                                                                                                                             Divorce settlement:       $________________
                                                                                                                             Property settlement:      $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information. ..............
                                                                                                                                                       $______________________



                                                                           Schedule A/B: Property                                                                page 7
                                      Case 8:19-bk-03039-RCT                                           Doc 26                Filed 05/23/19                         Page 8 of 12
Debtor 1            _______________________________________________________                                                                  Case number        (if known)_____________________________________
                    First Name           Middle Name                   Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                  Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
        No
        Yes. Give specific information. .............
                                                                                                                                                                                               $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $_____________________




35. Any financial assets you did not already list

        No
        Yes. Give specific information............
                                                                                                                                                                                               $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

        No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

38. Accounts receivable or commissions you already earned

        No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        No
        Yes. Describe .......                                                                                                                                                                $_____________________



                                                                                      Schedule A/B: Property                                                                                              page 8
                                         Case 8:19-bk-03039-RCT                                        Doc 26                Filed 05/23/19                         Page 9 of 12
Debtor 1            _______________________________________________________                                                                  Case number        (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________



41. Inventory
        No
        Yes. Describe .......                                                                                                                                                                $_____________________


42. Interests in partnerships or joint ventures

        No
        Yes. Describe ....... Name of entity:                                                                                                                        % of ownership:
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________
                                         ______________________________________________________________________                                                      ________%               $_____________________


43. Customer lists, mailing lists, or other compilations
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                      No
                      Yes. Describe . .......
                                                                                                                                                                                              $____________________


44. Any business-related property you did not already list
        No
        Yes. Give specific
                                         ______________________________________________________________________________________                                                               $____________________
        information .........
                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                              $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
        No
        Yes ..........................

                                                                                                                                                                                               $___________________



                                                                                      Schedule A/B: Property                                                                                              page 9
                                        Case 8:19-bk-03039-RCT                                             Doc 26                 Filed 05/23/19                          Page 10 of 12
 Debtor 1              _______________________________________________________                                                                      Case number        (if known)_____________________________________
                       First Name            Middle Name                   Last Name




48. Crops—either growing or harvested

           No
           Yes. Give specific
           information . ............                                                                                                                                                                   $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
           No
           Yes ..........................
                                                                                                                                                                                                        $___________________

50. Farm and fishing supplies, chemicals, and feed

           No
           Yes ..........................
                                                                                                                                                                                                        $___________________

51. Any farm- and commercial fishing-related property you did not already list
           No
           Yes. Give specific
           information. ............                                                                                                                                                                    $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $___________________
     for Part 6. Write that number here ....................................................................................................................................................




Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
                                                                                                                                                                                                         $________________
           Yes. Give specific
           information. ............                                                                                                                                                                      $________________
                                                                                                                                                                                                          $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                     $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................    $________________

56. Part 2: Total vehicles, line 5                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                             $________________

58. Part 4: Total financial assets, line 36                                                                         $________________

59. Part 5: Total business-related property, line 45                                                                $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                       $________________

61. Part 7: Total other property not listed, line 54                                                            + $________________
62. Total personal property. Add lines 56 through 61. ....................                                          $________________ Copy personal property total                                     + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                             $_________________



                                                                                           Schedule A/B: Property                                                                                                page 10
                                  Case 8:19-bk-03039-RCT                  Doc 26            Filed 05/23/19            Page 11 of 12

 Fill in this information to identify your case:

 Debtor 1           Rodolfo Marin
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Middle DistrictDistrict
                                         __________      of Florida
                                                                 of __________

 Case number
  (If known)
                      8:19 bk 3039 RCT
                     ___________________________________________                                                                            
                                                                                                                                            ✔ Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     ✔ You are claiming state and federal nonbankruptcy exemptions.
                                                                                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      ____________________________
                                                                                                                                 Art X Sec 4(a)(1) Fla.
      description:            5107 N. Shade Ave.
                             _________________________       8,000.00
                                                            $________________            ✔ $ ____________
                                                                                            8,000.00                            ____________________________
                                                                                          100% of fair market value, up to      Const.
                                                                                                                                 ____________________________
      Line from
                    2.1
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      ____________________________
      description:            Jeep
                             _________________________       23,000.00
                                                            $________________            ✔ $ ____________
                                                                                            1,000.00                            F.S. 222.25(1)
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
      description:            Personal Property
                             _________________________       8,422.40
                                                            $________________            ✔ $ ____________
                                                                                            1,000.00                            Art X Sec 4(a)(2) Fla.
                                                                                                                                 ____________________________
                                                                                          100% of fair market value, up to      Const.
                                                                                                                                 ____________________________
      Line from
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
     ✔
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                             page 1 of __
                             Case 8:19-bk-03039-RCT                      Doc 26        Filed 05/23/19           Page 12 of 12
Debtor 1       Rodolfo Marin
              _______________________________________________________                                                    8:19 bk 3039 RCT
                                                                                                  Case number (if known)_____________________________________
              First Name        Middle Name         Last Name




 Part 2:     Additional Page

      Brief description of the property and line            Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property              portion you own
                                                            Copy the value from    Check only one box for each exemption
                                                            Schedule A/B

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                                                                                                                           ____________________________
     Schedule A/B: ______                                                             any applicable statutory limit


     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                    100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                    any applicable statutory limit      ____________________________

     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                                                                                                                           ____________________________
     Schedule A/B: ______                                                             any applicable statutory limit


     Brief                                                                                                                 ____________________________
     description:
                           _________________________        $________________       $ ____________                        ____________________________
     Line from                                                                      100% of fair market value, up to      ____________________________
                   ______                                                             any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                           2 of __
                                                                                                                                             page ___
           Print                              Save As...               Add Attachment                                                       Reset
